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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

 TRAVIS BARKLEY and JEFFREY
 BURFEIND                                                                       PLAINTIFFS

 V.                             CASE NO. 4:19-cv-847-BSM

 BOY SCOUTS OF AMERICA and
 QUAPAW AREA COUNCIL INCORPORATED
 OF THE BOY SCOUTS OF AMERICA                                                   DEFENDANTS


                     MOTION FOR LEAVE TO AMEND COMPLAINT

       COME NOW Plaintiffs, by and through undersigned counsel, and for their Motion for

Leave to Amend the Complaint, state as follows:

       1.       Plaintiffs seek to amend to add as a defendant The Salvation Army, which, upon

information and belief, was the chartering organization that sponsored the Boy Scouts troop to

which Plaintiffs belonged. Upon information and belief, The Salvation Army also employed

Sam Otts, the volunteer scout leader Plaintiffs claim sexually abused them as children.

       2.       The Salvation Army’s principal address is 1424 Northeast Expressway, Atlanta,

GA 30329. Its Arkansas registered agent is the C.T. Corporation, which can be served with

process at 124 West Capitol Ave., Suite 1400, Little Rock, AR 72201.

       3.       Additionally, Plaintiffs seek to make as an exhibit to the proposed First Amended

Complaint the Affidavit of Wesley Walraven, only recently obtained.

       4.       A copy of the proposed amendment, Plaintiffs’ First Amended Complaint, is

attached hereto as Exhibit 1.



                                                     Respectfully Submitted,
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                                                       /s/ Joshua D. Gillispie
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                                                       Counsel for Plaintiffs




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was
electronically filed on this 17th day of November, 2023, and service shall be accomplished via the
court’s electronic filing system and/or US Mail on all counsel of record.



                                                               /s/ Joshua D. Gillispie
                                                               Joshua D. Gillispie
